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*

                                             UNITED STATES DISTRICT COURT
                                                                    for the
                                                           Western District of Texas

                        United States of America
                                    V.

                                                                      )        Case No.    SA12CR1063FB
       GUME ROBERTO GARZA, a/k/a Gumercindo Garza
         Perez, Gumercindo Garza-Perez, Gumercindo P.
                                                                      )
                                                                                                                               S
                                                                                                                                S.....
        Perez, Gumercindo PerezGarza, Gume P. Garza,                                                                                    .       I
        Gume Garza, Gerardo Vasquez, Gerardo Vazquez                                                          .ISS             S
    _____________________________________________________             )                                                                         I
                                 Defendant


                                                        ARREST WARRANT
                                                                                                              I....
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     To:       Any authorized law enforcement officer                                                         '           S


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             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge withoit    unnessacv. delay
                                                                                                            S.
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    (name ofperson to be arrested) GUME ROBERTO GARZA, a/k/a (see above)
    who is accused of an offense or violation based on the following document filed with the court:

           Indictment        l    Superseding Indictment        Information      IJ Superseding Information                   Complaint
        Probation Violation Petition            Supervised Release Violation Petition         Violation Notice                Order of the Court
    This offense is briefly described as follows:
      18:1001(a)(1) - Federal Agency Falsification Scheme
      18:1015(a) - False Under-Oath Statements in Naturalization Matter
      18:1425(a) and 8:1451(e) - Unlawful Procurement of Naturalization




    Date:          11/28/2012


    City and state:       San Antonio, TX


                                                                  Return
               This warrant was received on (date)                        and the person was arrested on (date)
    at (city and state)


    Date:
                                                                                          Arresting officer 's signature



                                                                                             Printed name and title
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  A0 442 (Rev. 11/Il) Arrest Warrant (Page 2)



                        This second page contains personal identifiers provided for law-enforcement use only
                        and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Notfor Public Disclosure)

 Name of defendant/offender:
 Known aliases:
 Last known residence:                                                                                                                 .
                                                                                                                          S.....
                                                                                                                          S
 Prior addresses to which defendant/offender may still have ties:                                        S....            -            -   S
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 Last known employment:                                                                                                   ..           S   S
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 Last known telephone numbers:                                                                           S....
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 Place of birth:                                                                                         .    .
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 Date of birth:
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 Social Security number:                                                                                     .
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 Height:                                                                Weight:                                           .
                                                                                                                                   S.
 Sex:                                                                   Race:
Hair:                                                                   Eyes:
Scars, tattoos, other distinguishing marks:




History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer ((fapplicable):



Date of last contact with pretrial services or probation officer (if applicable):
